    Case: 4:14-cv-00717-RWS Doc. #: 1 Filed: 04/10/14 Page: 1 of 4 PageID #: 1



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

JAIDA BURKETT-O’CONNOR              )
                                    )
          Plaintiff,                )
                                    ) Case No. 4:14-cv-717
                                                _________
     vs.                            )
                                    ) St. Charles County, Missouri
MEDICREDIT, INC.                    ) Associate Division
                                    ) No. 1411-AC00157
          Defendant.                )
                                    ) NOTICE OF REMOVAL OF ACTION
                                    ) UNDER 28.U.S.C. §1331
                                    )
                                    ) (FEDERAL QUESTION
                                    ) JURISDICTION)
                    NOTICE OF REMOVAL OF CIVIL ACTION

         Defendant Medicredit, Inc. (“Defendant”), pursuant to 28 U.S.C. § 1441, hereby removes

the above-styled action to this Court from the Circuit Court of St. Charles County, State of

Missouri. This is a civil action over which this Court has original subject matter jurisdiction

under 28 U.S.C. § 1331 in that Plaintiff's Petition asserts claims arising under 15 U.S.C. § 1692

et seq., the Fair Debt Collection Practices Act (the “FDCPA”). In support hereof, Defendant

states as follows:

                                       INTRODUCTION

         1.     On January 13, 2014, Plaintiff Jaida Burkett-O’Connor (“Plaintiff”) filed her

Petition for Damages (the “Petition”) in the Associate Division of St. Charles County, Missouri

thereby commencing the instant action styled, Jaida Burkett-O’Connor v. Medicredit, Inc.,

Cause No. 14AC-00157.

         2.     The one-count Petition relates to Defendant’s alleged attempt to collect on a debt

(the “Debt”) due and owing by Plaintiff to a third-party creditor (the “Creditor”).




21559722v1
    Case: 4:14-cv-00717-RWS Doc. #: 1 Filed: 04/10/14 Page: 2 of 4 PageID #: 2



         3.    Specifically, Plaintiff alleges that Defendant violated the FDCPA in its attempt to

collect the Debt.

                             NOTICE OF REMOVAL IS TIMELY

         4.    Plaintiff filed her Petition on January 13, 2014.

         5.    On January 23, 2014, Plaintiff received a Notice of Service indicating that

Defendant had been served.

         6.    Defendant was served with Plaintiff’s Petition on March 28, 2014.

         7.    This Notice of Removal is timely because it is filed within thirty (30) days of

Defendant’s receipt of service of the Petition and within one year of the commencement of this

action as required by 28 U.S.C. §1446(b).

                     FEDERAL QUESTION JURISDICTION EXISTS

         8.    The Court has original jurisdiction over this action under 28 U.S.C. § 1331 and

this case may be removed pursuant to 28 U.S.C. §1441(a) because it involves a federal question

based upon the FDPCA.

                       REMOVAL TO THIS DISTRICT IS PROPER

         9.    Venue is proper in the United States District Court for the Eastern District of

Missouri and is proper in the Eastern Division under 28 U.S.C. §§ 1441(a) and 1446(a) because

the Circuit Court for St. Charles County is located within the Eastern Division of this judicial

district. Venue is also proper under Local Rule 3-2.07(B) because the action being removed is a

civil action brought against a single defendant and the claim for relief arose in St. Charles

County.

         10.   Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81-2.03, true and correct copies

of all pleadings on file with the St. Charles County Circuit Court to date are attached hereto as

Exhibit A.


21559722v1                                       2
    Case: 4:14-cv-00717-RWS Doc. #: 1 Filed: 04/10/14 Page: 3 of 4 PageID #: 3



         11.   Written notice of the filing of this Notice of Removal will be promptly served on

Plaintiff’s counsel and a copy has been filed with the Clerk of the Circuit Court of St. Charles

County, State of Missouri.

         12.   Defendant's Notice to Clerk of Filing Notice of Removal will also be promptly

filed with the Clerk of the Circuit Court of St. Charles County, State of Missouri.

         13.   Defendant hereby reserves any and all rights to assert any and all defenses to

Plaintiff's Petition, including but not limited to failure to state a claim upon which relief can be

granted.

         14.   Defendant reserves the right to amend or supplement this Notice of Removal.

         15.   Defendant has not answered the Petition in state court, and will do so consistent

with Fed. R. Civ. P. 8(c).

         WHEREFORE, Defendant Medicredit, Inc. respectfully removes this action now pending

in the Circuit Court of St. Charles County, State of Missouri to this Court.



                                              Respectfully submitted,

                                              LATHROP & GAGE LLP



                                              /s/ Scott J. Dickenson
                                              Scott J. Dickenson, #50478MO
                                              James Redd IV, #66172MO
                                              7701 Forsyth Blvd., Suite 500
                                              Clayton, MO 63105
                                              Telephone: (314) 613-2800
                                              Telecopier: (314) 613-2801
                                              sdickenson@lathropgage.com
                                              jredd@lathropgage.com

                                              Attorneys for Defendant
                                              Medicredit, Inc.



21559722v1                                       3
    Case: 4:14-cv-00717-RWS Doc. #: 1 Filed: 04/10/14 Page: 4 of 4 PageID #: 4



                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the above pleading was served by the Court’s ECF system
on this 10th day of April, 2014 on counsel of record.




                                            /s/ Scott J. Dickenson




21559722v1                                    4
